          Case
            Case
               3:16-md-02741-VC
                 3:20-cv-00140-VC Document
                                   Document8841
                                            1 Filed
                                                 Filed
                                                     01/07/20
                                                       01/09/20Page
                                                                 Page
                                                                    1 of
                                                                      1 of
                                                                         4 4

     Matthew R. Willis
 1   BRENT COON & ASSOCIATES
 2   300 Fannin, Suite 200
     Houston, Texas 77002
 3   Tel: (713) 225-1682
     Fax: (713) 225-1785
 4   matt.willis@bcoonlaw.com
 5   Attorney for Plaintiffs
 6
                                    UNITED STATES DISTRICT COURT
 7                               NORTHERN DISTRICT OF CALIFORNIA
 8

 9   IN RE: ROUNDUP PRODUCTS LIABILITY                          MDL No. 2741
     LITIGATION
10                                                              Case No.
11
     This document relates to:
12                                                              SHORT FORM COMPLAINT
     BETH WEIKERTH,
13
            Plaintiff,
14
     v.
15

16   MONSANTO COMPANY,

17          Defendant.

18

19          Pursuant to Pretrial Order (PTO) No. 155, reaffirming this Court’s requirements for a
20
     short form complaint for pre-trial work up purposes. Plaintiff Beth Weikerth provides the
21
     following allegations required by the Court in PTO No. 155 (Attached hereto as Exhibit “A”):
22
            1.      This case is brought on behalf of Plaintiff Beth Weikerth.
23

24          2.      This case is brought against Defendant Monsanto Company (Monsanto).

25          3.      Plaintiff incorporates by reference, as if fully alleged herein, the allegations

26   contained in Beth Weikerth, et al v. Monsanto Company, Case No. 4:19-CV-03296, in the
27
     Southern District of Texas, Houston, Division.
28


                                                1
                                      SHORT FORM COMPLAINT
          Case
            Case
               3:16-md-02741-VC
                 3:20-cv-00140-VC Document
                                   Document8841
                                            1 Filed
                                                 Filed
                                                     01/07/20
                                                       01/09/20Page
                                                                 Page
                                                                    2 of
                                                                      2 of
                                                                         4 4

              4.    Plaintiff resided in Houston, Harris County, Texas at the time of filing the original
 1

 2   complaint against Monsanto.

 3            5.    Plaintiff currently resides in Houston, Harris County, Texas.

 4            6.    Plaintiff resided in Houston, Harris County, Texas at the time of her diagnosis of
 5   Non-Hodgkin Lymphoma (NHL).
 6
              7.    Plaintiff received medical treatment for her NHL in Houston, Harris County,
 7
     Texas.
 8
              8.    Jurisdiction is proper based on diversity under 28 U.S.C. § 1332 because Plaintiff
 9

10   is a citizen of Texas, a different state than the Defendant’s states of citizenship, and the aggregate

11   amount in controversy exceeds $75,000, exclusive of interest and costs.

12            9.    Plaintiff alleges injury from her exposure to Defendant’s Roundup products.
13
              10.   Plaintiff was exposed to Monsanto’s Roundup products from approximately 1970
14
     to 2018, Ms. Weikerth sprayed Roundup® once a month at her residence to control weeds.
15
              11.   Plaintiff used Monsanto’s Roundup® products in Houston, Harris County, Texas.
16
              12.   Plaintiff was first diagnosed with Non-Hodgkin’s Lymphoma in February of
17
     1999.
18
              13.   Plaintiff brings claims against Monsanto under the following theories of liability:
19
     Strict Liability (Design Defect); Strict Liability (Failure to Warn); Negligence; Breach of
20
     Express Warranty; Breach of Implied Warranties.
21

22

23            Dated: January 7, 2020                BRENT COON & ASSOCIATES
24
                                                    By: /s/ Matthew R. Willis
25                                                  Matthew R. Willis
                                                    300 Fannin, Suite 200
26                                                  Houston, Texas 77002
27                                                  Tel: (713) 225-1682
                                                    Fax: (713) 225-1785
28                                                  matt.willis@bcoonlaw.com


                                                 2
                                       SHORT FORM COMPLAINT
     Case
       Case
          3:16-md-02741-VC
            3:20-cv-00140-VC Document
                              Document8841
                                       1 Filed
                                            Filed
                                                01/07/20
                                                  01/09/20Page
                                                            Page
                                                               3 of
                                                                 3 of
                                                                    4 4


 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


                                     3
                           SHORT FORM COMPLAINT
          Case
            Case
               3:16-md-02741-VC
                 3:20-cv-00140-VC Document
                                   Document8841
                                            1 Filed
                                                 Filed
                                                     01/07/20
                                                       01/09/20Page
                                                                 Page
                                                                    4 of
                                                                      4 of
                                                                         4 4


 1

 2                                  CERTIFICATE OF SERVICE

 3
            I, Michael Miller, hereby certify that, on January 7, 2020, I electronically filed the
 4

 5   foregoing with the Clerk for the United States District Court, Northern District of California

 6   using the CM/ECF system, which shall send electronic notification to counsel of record.

 7

 8
                                                        /s/ Michael J. Miller
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


                                               4
                                     SHORT FORM COMPLAINT
